

People ex rel. Rankin v Brann (2022 NY Slip Op 04306)





People ex rel. Rankin v Brann


2022 NY Slip Op 04306


Decided on July 6, 2022


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 6, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

VALERIE BRATHWAITE NELSON, J.P.
SHERI S. ROMAN
BARRY E. WARHIT
LILLIAN WAN, JJ.


2022-04665

[*1]The People of the State of New York, ex rel. Douglas G. Rankin, on behalf of Tyrone Waller, petitioner, 
vCynthia Brann, etc., respondent.


Douglas G. Rankin, Brooklyn, NY, petitioner pro se.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, Nancy Fitzpatrick Talcott, and Danielle M. O'Boyle of counsel), for respondent.



DECISION &amp; JUDGMENT
Writ of habeas corpus in the nature of an application to release Tyrone Waller upon his own recognizance or, in the alternative, to set reasonable bail upon Queens County Indictment No. 1050/2021.
ADJUDGED that the writ is dismissed, without costs or disbursements.
The determination of the Supreme Court, Queens County, did not violate "constitutional or statutory standards" (People ex rel. Klein v Krueger , 25 NY2d 497, 499; see People ex rel. Rosenthal v Wolfson , 48 NY2d 230).
BRATHWAITE NELSON, J.P., ROMAN, WARHIT and WAN, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








